                 Case 22-11068-JTD              Doc 27034         Filed 10/21/24         Page 1 of 4




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                     Chapter 11

    FTX TRADING LTD., et al.,1                                Case No. No. 22-11068 (JTD)

                         Debtors.                             (Jointly Administered)

                                                              Re: Docket No. 26404




                                              NOTICE OF APPEAL

Part 1: Identify the appellant(s)

      1. Name(s) of appellant(s): LayerZero Labs Ltd., Ari Litan, and Skip & Goose LLC
         (collectively, the “LayerZero Group”)


      2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject
         of this appeal:

            For appeals in an adversary proceeding.              For appeals in a bankruptcy case and not
                                                                 in an adversary proceeding.
            ☐ Plaintiff
            ☐ Defendant                                          ☐ Debtor
            ☐ Other (describe)                                   ☒ Creditor
                                                                 ☐ Trustee
                                                                 ☐ Other (describe)

Part 2: Identify the subject of this appeal

      1. Describe the judgment—or the appealable order or decree—from which the appeal is
         taken:

1
     The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
     4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
     Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
     of such information may be obtained on the website of the Debtors’ claims and noticing agent at
     https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
     Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



11837573
                Case 22-11068-JTD      Doc 27034     Filed 10/21/24   Page 2 of 4




                 Findings of Fact, Conclusions of Law and Order Confirming the Second
                 Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its
                 Debtor Affiliates (Docket No. 26404), a copy of which is attached hereto as
                 Exhibit A.

    2. State the date on which the judgment—or the appealable order or decree—was entered:
           October 8, 2024

Part 3: Identify the other parties to the appeal

List the names of all parties to the judgment—or the appealable order or decree—from which the
appeal is taken and the names, addresses, and telephone numbers of their attorneys (attach
additional pages if necessary):

     1. Party: FTX Trading Ltd., et al.         Attorneys:

                                                Adam G. Landis (No. 3407)
                                                Matthew B. McGuire (No. 4366)
                                                Kimberly A. Brown (No. 5138)
                                                Matthew R. Pierce (No. 5946)
                                                LANDIS RATH & COBB LLP
                                                919 Market Street, Suite 1800
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 467-4400
                                                Facsimile: (302) 467-4450
                                                E-mail: landis@lrclaw.com
                                                        mcguire@lrclaw.com
                                                        brown@lrclaw.com
                                                        pierce@lrclaw.com

                                                -and-

                                                Andrew G. Dietderich (admitted pro hac vice)
                                                James L. Bromley (admitted pro hac vice)
                                                Brian D. Glueckstein (admitted pro hac vice)
                                                Alexa J. Kranzley (admitted pro hac vice)
                                                SULLIVAN & CROMWELL LLP
                                                125 Broad Street
                                                New York, New York 10004
                                                Telephone: (212) 558-4000
                                                Facsimile: (212) 558-3588
                                                E-mail: dietdericha@sullcrom.com
                                                        bromleyj@sullcrom.com
                                                        gluecksteinb@sullcrom.com
                                                        kranzleya@sullcrom.com




11837573
                 Case 22-11068-JTD   Doc 27034     Filed 10/21/24   Page 3 of 4




Part 4: Optional election to have appeal heard by District Court (applicable only in certain
districts)


           N/A


Part 5: Sign below


Dated: October 21, 2024
       Wilmington, Delaware
                                           By: /s/ Sameen Rizvi
                                               M. Blake Cleary (No. 3614)
                                               R. Stephen McNeill (No. 5210)
                                               Sameen Rizvi (No. 6902)
                                               POTTER ANDERSON & CORROON LLP
                                               1313 N. Market Street, 6th Floor
                                               Wilmington, Delaware 19801
                                               Telephone: (302) 984-6000
                                               Facsimile: (302) 658-1192
                                               Email: bcleary@potteranderson.com
                                                      rmcneill@potteranderson.com
                                                      srizvi@potteranderson.com

                                                 -and-

                                                 Brian S. Rosen, Esq.
                                                 Dylan J. Marker, Esq.
                                                 PROSKAUER ROSE LLP
                                                 Eleven Times Square
                                                 New York, NY 10036-8299
                                                 Telephone: (212) 969-3000
                                                 Facsimile: (212) 969-2900
                                                 Email: brosen@proskauer.com
                                                         dmarker@proskauer.com

                                                  -and-

                                                 Jordan E. Sazant (DE Bar No. 6515)
                                                 PROSKAUER ROSE LLP
                                                 70 West Madison, Suite 3800
                                                 Chicago, Illinois 60602-4342
                                                 Telephone: (312) 962-3550
                                                 Email: jsazant@proskauer.com

                                                 -and-


11837573
           Case 22-11068-JTD   Doc 27034     Filed 10/21/24   Page 4 of 4




                                           William D. Dalsen, Esq.
                                           Genesis Sanchez Tavarez, Esq.
                                           PROSKAUER ROSE LLP
                                           One International Place
                                           Boston, MA 02110-2600
                                           Telephone: (617) 526-9600
                                           Email: wdalsen@proskauer.com
                                                   gsancheztavarez@proskauer.com

                                           Counsel to LayerZero Group




11837573
